                           Case 23-15079-LMI        Doc 8       Filed 07/10/23    Page 1 of 3




           ORDERED in the Southern District of Florida on July 10, 2023.




                                                                Laurel M. Isicoff
                                                                Chief United States Bankruptcy Judge
___________________________________________________________________________




                                     UNITED STATES BANKRUPTCY COURT
                                      SOUTHERN DISTRICT OF FLORIDA

             IN RE:                                              CASE NO.     23-15079-BKC-LMI
             CTG HOLDING GROUP LLC,
                                                                 Chapter 7

                        Debtor.
             ________________________________/



                                     ORDER DISMISSING CASE FOR
                              FAILURE OF DEBTOR TO APPEAR VIA COUNSEL

                  THIS MATTER came before the Court sua sponte. CTG Holding Group LLC (the

           “Debtor”) filed its petition for bankruptcy pro se on June 29, 2023. The Debtor failed to obtain

           counsel by the deadline of July 6, 2023 (ECF #3). Local Rule 9010-1(B)(1) prohibits a corporation

           or other business entity from appearing in court or acting on its own behalf in a case or proceeding

           without an attorney.

                                                            1
                 Case 23-15079-LMI           Doc 8       Filed 07/10/23     Page 2 of 3




        The Debtor is an artificial entity that cannot appear or act on its own behalf in this case

except through an attorney licensed to practice before this Court. “It has been the law for the better

part of two centuries . . . that a corporation may appear in the federal courts only through licensed

counsel.” Rowland v. Cal. Men’s Colony, Unit II Men's Advisory Council, 506 U.S. 194, 201-02

(1993) (citing Osborn v. President, Dirs., and Co. of the Bank of the U.S., 22 U.S. 738, 830 (1824));

see also Palazzo v. Gulf Oil Corp., 764 F.2d 1381, 1385 (11th Cir. 1985) (“The rule is well

established that a corporation is an artificial entity that can act only through agents, cannot appear

pro se, and must be represented by counsel.”). “[T]he rationale for that rule applies equally to all

artificial entities.” Rowland, 506 U.S. at 202. Artificial entities like corporations and partnerships

are unable to represent themselves and “the only proper representative of a corporation or a

partnership is a licensed attorney, not an unlicensed layman regardless of how close his association

with the partnership or corporation.” Turner v. Am. Bar Ass’n, 407 F. Supp. 451, 476 (N.D. Tex.

1975) (quoted in Palazzo, 764 F.2d at 1385).

        The Debtor is not represented by counsel in this case. The Debtor’s failure to file the

petition through counsel is cause for dismissal of the case. See Palazzo, 764 F.2d at 1386 (dismissal

of corporation’s claims for lack of proper representation); Grace v. Bank Leumi Trust Co. of N.Y.,

443 F.3d 180, 192 (2d Cir. 2006) (action or motion filed by a corporation appearing without a

licensed attorney should be dismissed or denied).1 Accordingly, it is ORDERED:

        1.      This case is DISMISSED.

        2.      The Court reserves jurisdiction on the Motion for Stay Relief (ECF #7).

                                                    ###

Copies furnished to:
All parties in interest

1
 B&B Capital Group 26 LLC (“B&B”) filed a Motion for Relief from the Automatic Stay (ECF #7) (the “Motion for
Stay Relief”) on July 6, 2023. The Court will address the Motion for Stay Relief by separate order.

                                                     2
               Case 23-15079-LMI        Doc 8       Filed 07/10/23   Page 3 of 3




       The Clerk of Court shall serve a copy of this order upon all interested parties who do not
receive service by CM/ECF.




                                                3
